Case 2:25-cv-00240-NT          Document 21         Filed 06/17/25      Page 1 of 10      PageID #: 165




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

     GEDEON MBOKO,                                  )
                                                    )
                          Petitioner,               )
                                                    )
     v.                                             ) Docket No. 2:25-cv-00240-NT
                                                    )
     KEVIN JOYCE et al.,                            )
                                                    )
                          Defendants.               )


             ORDER ON PETITION FOR WRIT OF HABEAS CORPUS

          Before me is Petitioner Gedeon Mboko’s petition for a writ of habeas corpus

 under 28 U.S.C. § 2241 (ECF No. 1). For the reasons below, the petition is DENIED.


                                         BACKGROUND 1

 I.       Immigration History

          Mr. Mboko is a 23-year-old citizen of the Democratic Republic of the Congo

 (“DRC”). He fled his home country in 2019 after experiencing severe abuse and

 neglect by his parents and witnessing the deaths of two friends at the hands of police

 during a political protest. He entered the United States alone at age 17 and was

 placed in removal proceedings. In 2020, a California lawyer helped Mr. Mboko file an

 asylum petition, still pending today, based on his fear of political violence in the DRC.

          In 2021, Mr. Mboko moved to Maine and began receiving pro bono

 representation from a legal services organization. The same pro bono immigration



 1       As discussed below, I draw these facts from both parties’ pleadings, certain exhibits submitted
 by both parties, see ECF Nos. 9-5, 17-1–17-5, and both parties’ assertions at the June 10, 2025 hearing.
Case 2:25-cv-00240-NT    Document 21      Filed 06/17/25   Page 2 of 10   PageID #: 166




 attorney has represented him ever since. Mr. Mboko eventually filed an application

 for legal permanent residence, which is still pending. U.S. Citizenship and

 Immigration Services granted Mr. Mboko Special Immigrant Juvenile Status in 2022

 and deferred action in 2023. An immigration judge terminated his removal

 proceedings in October of 2024.

 II.    November 2024 Arrest and Detention

        On November 27, 2024, Mr. Mboko was arrested on state criminal charges and

 detained at the Cumberland County Jail (“CCJ”) in Portland, Maine. Though his

 criminal matter was resolved on May 9, 2025, CCJ maintained custody of him under

 a U.S. Immigration and Customs Enforcement (“ICE”) detainer. On May 12, 2025,

 an ICE official arrived at CCJ and told Mr. Mboko that removal proceedings were

 being initiated against him. Mr. Mboko saw his clothing contained in a bucket, as

 though they were ready to be transported, and he overheard an ICE official mention

 a plan to transfer Mr. Mboko to another state. He was taken to an ICE office where

 he was held handcuffed for five hours before he was returned to CCJ. On May 14,

 2025, his deferred action was revoked.

 III.   Procedural History

        On May 14, 2025, Mr. Mboko filed his present petition for a writ of habeas

 corpus pursuant to 28 U.S.C. § 2241. Pet. for Writ of Habeas Corpus (ECF No. 1). He

 seeks an order preventing ICE from transferring him out of state and a declaration

 that doing so would violate his right to counsel under the Immigration and

 Nationality Act (“INA”) and the Due Process Clause of the Fifth Amendment of the




                                           2
Case 2:25-cv-00240-NT         Document 21        Filed 06/17/25      Page 3 of 10      PageID #: 167




 U.S. Constitution. 2 He cites an official ICE policy that instructs officers not to

 transfer detainees who have an attorney of record or who have pending removal

 proceedings unless “necessary.” Those policies provide in part:

        If a detainee has an attorney of record (Form G-28 on file), the sending
        field office will: . . . Notify the attorney that the detainee is being
        transferred and include the reason for the transfer and the name,
        location, and telephone number of the new facility as soon as practicable
        on the day of the transfer, but in no circumstances later than twenty
        four (24) hours after the transfer occurs.

 U.S. ICE Enforcement, Policy No. 11022.1 (“Detainee Transfers Policy”) § 5.3(2)

 (2012), available at https://www.ice.gov/doclib/detention-reform/pdf/hd-detainee-

 transfers.pdf; see also id. §§ 5.2(1)(b) & 5.3(1).

        On May 14, 2025, I ordered the Government to show cause as to why I should

 not grant habeas relief. Order to Show Cause (ECF No. 3). On May 28, 2025, the

 Government 3 filed a response stating three grounds for dismissing Mr. Mboko’s

 petition, two on jurisdictional grounds and one on the merits. Return and Resp. to

 Order to Show Cause in Opp’n to Pet. for Writ of Habeas Corpus (“Resp.”) (ECF No.

 9). Mr. Mboko filed a reply on June 5, 2025, which countered the Government’s

 various arguments for dismissal and notified the Court of Mr. Mboko’s upcoming



 2       While the Sixth Amendment right to counsel does not apply to noncitizens in removal
 proceedings, the Immigration and Nationality Act (“INA”) “provides this guarantee (along with other
 due process protections),” and Fifth Amendment due process also applies. Garcia v. Sessions, 856 F.3d
 27, 51 n.25 (1st Cir. 2017) (Stahl, J., dissenting) (citing 8 U.S.C. § 1229(a)(1)(E)).
 3       Mr. Mboko names four respondents in their official capacities: Kevin Joyce, Sheriff of
 Cumberland County Jail (“CCJ”); Patricia Hyde, Director of U.S. Immigration and Customs
 Enforcement’s (“ICE”) Boston field office; Kristi Noem, Secretary of the U.S. Department of Homeland
 Security; and Pamela Bondi, the U.S. Attorney General. The latter three respondents, whom I refer to
 throughout this order as “the Government,” responded to my order to show cause. Respondent Joyce
 instead filed an answer (ECF No. 14).



                                                  3
Case 2:25-cv-00240-NT         Document 21        Filed 06/17/25      Page 4 of 10      PageID #: 168




 asylum interview in Boston at the end of this month. Pet’r’s Traverse in Supp. of Pet.

 for Writ of Habeas Corpus (“Reply”) (ECF No. 17). After an evidentiary hearing held

 on June 10, 2025, I took the petition under advisement. To date, Mr. Mboko has not

 been transferred from CCJ.


                                      LEGAL STANDARD

        The federal habeas statute authorizes district courts to grant writs of habeas

 corpus to individuals “in custody in violation of the Constitution or laws or treaties of

 the United States.” 28 U.S.C. § 2241(c)(3). Mr. Mboko has been in ICE custody since

 May 12, 2025. “Petitions under § 2241 are not limited to individuals seeking release

 from custody or detention.” Singh v. Moniz, No. 19-CV-12337-ADB, 2020 WL

 13824549, at *3 (D. Mass. Feb. 5, 2020). “[T]he Supreme Court itself has pointed out”

 that “the writ was historically used in a wide variety of circumstances . . . .” Devitri

 v. Cronen, 289 F. Supp. 3d 287, 293 n.9 (D. Mass. 2018) (citing I.N.S. v. St. Cyr, 533

 U.S. 289, 301–03 (2001)).

        Given the Government’s three grounds for dismissal, I construe its response as

 a motion under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). 4 Because I do

 not reach the merits, I set forth only the Rule 12(b)(1) standard.

        My approach to a Rule 12(b)(1) motion depends on whether the party

 challenging jurisdiction “controvert[s] the accuracy (rather than the sufficiency) of


 4       Cf. Singh v. Moniz, No. 19-CV-12337-ADB, 2020 WL 13824549, at *3 (D. Mass. Feb. 5, 2020)
 (construing the government’s arguments for dismissing a habeas petition as Rule 12(b)(1) and 12(b)(6)
 motions); Denbow v. Me. Dep’t of Corr., No. 1:20-CV-00175-JAW, 2020 WL 4736462, at *1 (D. Me. Aug.
 14, 2020) (“A motion to dismiss a habeas petition is reviewed under the same standard as a motion to
 dismiss a civil complaint under Fed. R. Civ. P. 12(b)(6).”) (quotations and citations omitted).



                                                  4
Case 2:25-cv-00240-NT          Document 21        Filed 06/17/25      Page 5 of 10      PageID #: 169




 the jurisdictional facts.” Bigda v. City of Springfield, No. CV 23-30067-MGM, 2024

 WL 1886103, at *3 (D. Mass. Apr. 29, 2024). If the accuracy of jurisdictional facts is

 questioned, the assertions of the party invoking this Court’s jurisdiction “are entitled

 to no presumptive weight,” and I “must address the merits of the jurisdictional claim

 by resolving the factual disputes between the parties.” Id. (quoting Valentin v. Hosp.

 Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001)). In conducting this inquiry, I have

 “ ‘broad authority to order discovery, consider extrinsic evidence, and hold

 evidentiary hearings . . . .’ ” Id. (quoting Valentin, 254 F.3d at 364); see also Groden

 v. N&D Transp. Co., Inc., 866 F.3d 22, 25 n.3 (1st Cir. 2017) (“When considering

 motions to dismiss for lack of subject-matter jurisdiction pursuant to Federal Rule of

 Civil Procedure 12(b)(1), the court may consider materials outside the pleadings.”).

        Here, the parties dispute the accuracy of relevant jurisdiction facts—namely,

 whether Mr. Mboko faces the imminent risk of being transferred out of state.

 Accordingly, I evaluate jurisdiction based on the pleadings, several exhibits

 submitted by the parties, 5 and statements by the parties at the June 10, 2025

 evidentiary hearing.




 5       I rely on the ICE officer’s declaration submitted by the Government (ECF No. 9-5) and the five
 declarations submitted by Mr. Mboko (ECF Nos. 17-1–17-5). I also rely on assertions and arguments
 made by both parties at the June 10, 2025 hearing. At that hearing, the Government objected to
 portions of several of Mr. Mboko’s exhibits on hearsay grounds. I admitted those exhibits conditionally
 and reserved ruling. I now hold that the relevant exhibits (ECF Nos. 17-1–17-5) are ADMITTED. In
 this order, I rely only on portions of those exhibits that do not pose hearsay issues. See infra n.9.



                                                   5
Case 2:25-cv-00240-NT          Document 21        Filed 06/17/25       Page 6 of 10      PageID #: 170




                                           DISCUSSION

         The Government makes three arguments for dismissing Mr. Mboko’s statutory

 and constitutional claims: (1) there is no subject matter jurisdiction because the

 claims are unripe; (2) there is no subject matter jurisdiction because the INA bars

 district courts from reviewing claims “arising from” removal proceedings; and (3) the

 claims fail on the merits. See Resp. 2. Because I find I lack jurisdiction based on

 ripeness, I do not reach the question of INA jurisdiction 6 or the merits of Mr. Mboko’s

 claims. See Am. Ass’n of Univ. Professors v. Rubio, No. 25-10685-WGY, 2025 WL

 1235084, at *6 (D. Mass. Apr. 29, 2025) (“ ‘When faced with motions to dismiss under

 both 12(b)(1) and 12(b)(6), a district court . . . should ordinarily decide the 12(b)(1)




 6       The Government contends that Mr. Mboko’s right-to-counsel claims are unambiguously barred
 by two provisions of the INA. See Return and Resp. to Order to Show Cause in Opp’n to Pet. for Writ
 of Habeas Corpus (“Resp.”) 5–7 (ECF No. 9) (citing 8 U.S.C. § 1252(b)(9) (stripping district courts of
 jurisdiction over claims “arising from” removal proceedings) and § 1252(a)(5) (channeling removal-
 related claims through the administrative process with review vested exclusively in the appropriate
 appellate court)). The Government relies on Aguilar v. U.S. Immigration & Customs Enforcement
 Division of Department of Homeland Security, 510 F.3d 1 (1st Cir. 2007), which held that Section
 1252(b)(9) barred district court review of immigrant detainees’ right-to-counsel claims. Since Aguilar,
 the Supreme Court decided Jennings v. Rodriguez, 583 U.S. 281 (2018), a pluralilty opinion that casts
 doubt on Section 1252(b)(9)’s application to claims brought before a removal order exists. The First
 Circuit has not addressed that question since Jennings. The Government contends that Aguilar
 remains good law because the First Circuit discussed it in Gicharu v. Carr, 983 F.3d 13 (1st Cir. 2020).
 But Gicharu is of limited use here because it involved a petitioner who was contesting a final removal
 order.
         While I do not reach the question of whether Mr. Mboko’s claims “aris[e] from” removal
 proceedings, I note that the answer to that question is less straightforward than the Government
 suggests, as various courts and scholars have observed. See, e.g., S. Poverty L. Ctr. v. U.S. Dep’t of
 Homeland Sec., No. 18-760, 2020 WL 3265533, at *35 n.4 (D.D.C. June 17, 2020) (“The question of
 whether the Court would have jurisdiction over Plaintiff’s access to counsel claim is a complicated one
 and the authorities are equipoise.”); Adam J. Garnick, Noncitizens’ Access to Federal District Courts:
 The Narrowing of § 1252(b)(9) Post-Jennings, 169 U. Pa. L. Rev. 783, 835 n.334 (2021) (“Right-to-
 counsel claims present perhaps the most complicated—or, at least, divisive—questions about the scope
 of § 1252(b)(9).”); Natasha Phillips, Keeping Counsel: Challenging Immigration Detention Transfers as
 a Violation of the Right to Retained Counsel, 27 Mich. J. Race & L. 375, 405 (2022) (“[B]ecause the
 harm to the attorney-client relationship cannot be remedied alongside a final order of removal . . . ,
 jurisdiction over right to counsel transfer claims is consistent with section 1252.”).



                                                    6
Case 2:25-cv-00240-NT      Document 21         Filed 06/17/25   Page 7 of 10   PageID #: 171




 motion first.’ ” (quoting Katz v. Pershing, LLC, 806 F. Supp. 2d 452, 456 (D. Mass.

 2011), aff’d, 672 F.3d 64 (1st Cir. 2012)).

 I.    Ripeness Doctrine

       Ripeness doctrine is grounded in Article III’s “foundational” principle that “ ‘an

 actual controversy must exist not only at the time the complaint is filed, but through

 all stages of the litigation.’ ” Bigda, 2024 WL 1886103, at *4 (quoting Trump v. New

 York, 592 U.S. 125, 131 (2020)). The inquiry is “whether an injury that has not yet

 happened is sufficiently likely to happen to warrant judicial review.” Smith v.

 Aroostook Cnty., 376 F. Supp. 3d 146, 155 (D. Me.), aff’d, 922 F.3d 41 (1st Cir. 2019)

 (citation omitted).

       In the First Circuit, ripeness depends on: (1) “the fitness of the issues for

 judicial decision,” and (2) “the hardship to the parties of withholding court

 consideration.” Sindicato Puertorriqueño de Trabajadores v. Fortuño, 699 F.3d 1, 8

 (1st Cir. 2012) (citation omitted). Fitness asks “whether allowing more time for

 development of events would ‘significantly advance [the court’s] ability to deal with

 the legal issues presented or aid’ ” the court’s resolution. Doe v. Bush, 323 F.3d 133,

 138 (1st Cir. 2003) (quoting Duke Power Co. v. Carolina Envtl. Study Group, 438 U.S.

 59, 82 (1978)). Fitness turns on “ ‘finality, definiteness, and the extent to which

 resolution of the challenge depends upon facts that may not yet be sufficiently

 developed.’ ” N.H. Lottery Comm’n v. Rosen, 986 F.3d 38, 53 (1st Cir. 2021) (citation

 omitted). Hardship asks “whether the challenged action creates a direct and

 immediate dilemma for the parties.” Id. (citation omitted). Hardship also considers

 “the judgment’s usefulness” and whether the requested relief “would be of practical


                                                7
Case 2:25-cv-00240-NT           Document 21        Filed 06/17/25       Page 8 of 10       PageID #: 172




 assistance” in resolving the underlying matter. Verizon New England, Inc. v. Int’l

 Brotherhood of Elec. Workers, Local No. 2322, 651 F.3d 176, 188 (1st Cir. 2011)

 (citations omitted).

 II.     Assessment

         On the record before me, I find that Mr. Mboko has not established ripeness.

 Though Mr. Mboko makes a persuasive case for hardship, 7 he fails to satisfy the

 fitness prong.

         Mr. Mboko says he faces an “immediate” and “imminent” risk of transfer to a

 remote detention facility because: (1) on May 14, 2025, he overheard an ICE officer

 say that Mr. Mboko was being “moved to another facility outside of Maine;” 8 (2) he

 saw his clothes “placed in a bucket,” as though “ready to be transported”; and (3) he

 has seen “many other immigrant detainees removed from [CCJ] without any prior

 notice.” Reply 1, 6–7; Decl. of Pet’r Gedeon Mboko ¶¶ 11–12, 16–17 (ECF No. 17-4).




 7       As to hardship, Mr. Mboko argues that a transfer out of Maine would “severely hinder, if not
 sever, [his] access to counsel and disrupt ongoing legal work.” Pet’r’s Traverse in Supp. of Pet. for Writ
 of Habeas Corpus (“Reply”) 7 (ECF No. 17). He explains that his current attorney would be unable to
 meet with him in person given her organization’s limited resources. He also establishes that the
 quality of his representation would suffer if he could communicate with his attorney only by phone or
 video, especially given his language skills and a speech stutter disorder that worsens when discussing
 sensitive topics. See Decl. of Att’y Margaret Loefellholz ¶ 21 (ECF No. 17-5); cf. Palamaryuk by &
 through Palamaryuk v. Duke, 306 F. Supp. 3d 1294, 1304 (W.D. Wash. 2018) (denying motion to
 dismiss a due process claim concerning an imminent ICE transfer where the petitioner’s disability
 “necessitate[d] in-person meetings” with his lawyer). Finally, he says he is already suffering from the
 uncertainty of a transfer that might occur at any moment. Reply 7; cf. D.V.D. v. U.S. Dep’t of Homeland
 Sec., No. 25-cv-10676-BEM, 2025 WL 1142968, at *21 n.44 (finding due process claims ripe where ICE
 detainees faced “the harm of substantial uncertainty” if the court delayed resolving their claims)
 (quotations and citation omitted).
 8      The Government contends that because Mr. Mboko’s native language is Lingala, there is cause
 to doubt what he asserts he overheard while in ICE custody. Resp. 11 n.5. Mr. Mboko has clarified
 that while he requires English language interpretation for court proceedings, he speaks and
 understands English. Reply 2 n.3.



                                                     8
Case 2:25-cv-00240-NT          Document 21         Filed 06/17/25       Page 9 of 10      PageID #: 173




 Mr. Mboko also submits sworn affidavits from three Maine-based immigration

 attorneys who attest to personal, specific, and recent incidents of ICE transferring

 detained clients out of Maine without prior notice to their counsel, in direct violation

 of agency policy. 9

         The Government counters that it has never planned and does not currently

 plan to transfer Mr. Mboko at all. It provides an ICE employee’s sworn statement

 that, as of May 28, 2025, ICE “ha[d] no intention of transferring” Mr. Mboko (though

 it reserves the right to do so for “operational” reasons). See Decl. of Assistant Field

 Office Director Keith M. Chan ¶ 19 (ECF No. 9-5). At the June 10, 2025 hearing,

 Government counsel reiterated that ICE has no plan to transfer Mr. Mboko and

 stated that any “operational” need to transfer Mr. Mboko would be constrained by

 ICE’s written policies. See Detainee Transfers Policy § 5.2(3) (specifying when ICE

 may determine it necessary to transfer a represented detainee out of the geographic

 area) and § 5.3 (requiring attorney notification in the event of a detainee transfer).

         Because the Government asserts it never intended to transfer Mr. Mboko and

 does not currently plan to do so, Mr. Mboko’s claims are not fit for judicial review. See

 Doe, 323 F.3d at 138 (“[B]y waiting until a case is fully developed . . . , courts benefit

 from a focus sharpened by particular facts.”) (citations omitted).



 9        See, e.g., Decl. of Briana S. Zhuang, Esq. ¶¶ 22–23 (ECF No. 17-1) (asserting that ICE routinely
 transfers detainees from Maine to detention centers in other states “very suddenly, without notice to
 the detainees themselves, their families, or their attorneys”); Aff. of Kathleen Maloney, Esq. ¶¶ 10–16
 (ECF No. 17-2) (describing how, in 2025, a client was transferred, without prior notice to counsel of
 record, from Massachusetts to Texas days before a scheduled bond hearing); Aff. of Emily Massell,
 Esq. ¶ 3 (ECF No. 17-3) (describing a February 2025 incident in which a client was transferred from
 ice to a detention center in rural New Mexico without notice or opportunity to seek judicial review).



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Case 2:25-cv-00240-NT           Document 21       Filed 06/17/25       Page 10 of 10       PageID #:
                                                 174



       I emphasize that I am relying on the Government’s representations to reach

this conclusion. Cf. Muntasser v. Napolitano, No. 04-11259-RWZ, 2009 WL 10728822,

at *3 (D. Mass. Feb. 10, 2009) (finding the petitioner’s claims unripe largely because

the court “accept[ed] the Government’s representation that it [did] not presently

intend to commence removal proceedings”). If ICE forms a plan to transfer Mr. Mboko

out of Maine, I expect ICE to follow its own policies—as the Government assures me

it will—including notice to Mr. Mboko’s counsel. Should the risk of transfer become

concrete or should ICE transfer Mr. Mboko despite the Government’s assurances to

the contrary, Mr. Mboko is free to return to this Court to seek appropriate relief. Cf.

Öztürk v. Hyde, 136 F.4th 382, 403–04 (2d Cir. 2025) (ordering the government to

comply with the district court’s order requiring ICE to physically transfer the

petitioner from Louisiana to Vermont). 10


                                         CONCLUSION

       For the reasons set forth above, the relief requested in Mr. Mboko’s habeas

petition (ECF No. 1) is DENIED. His petition is dismissed without prejudice.



SO ORDERED.

                                               /s/ Nancy Torresen
                                               United States District Judge

Dated this 17th day of June, 2025.


10      See also Öztürk v. Hyde, 136 F.4th 382, 403 (2d Cir. 2025) (concluding with “little difficulty”
that “the government’s unspecific financial and administrative concerns” about transferring the
petitioner from Louisiana to Vermont were “decidedly” outweighed by the risk of substantial
constitutional harm to the petitioner if not transferred) (quotations and citation omitted).



                                                  10
